      Case 3:10-cv-00742-O Document 7 Filed 06/09/10             Page 1 of 25 PageID 61


                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

DR. MATILDA SAENZ,                              §
                                                §
           Plaintiff,                           §
                                                §
v.                                              §     CIVIL ACTION NO. 3:10-CV-742-O
                                                §
DALLAS COUNTY COMMUNITY                         §
COLLEGE DISTRICT,                               §
                                                §
           Defendant.                           §

 BRIEF IN SUPPORT OF DEFENDANT DALLAS COUNTY COMMUNITY COLLEGE
               DISTRICT’S MOTION FOR PARTIAL DISMISSAL


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                                          DISTRICT




3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                            Page 2 of 25 PageID 62


                                                   TABLE OF CONTENTS


                                                                                                                                        Page

I. SUMMARY...............................................................................................................................1

II. PLAINTIFF’S ALLEGATIONS ...............................................................................................2

III. MOTION FOR PARTIAL DISMISSAL...................................................................................5

     A. Rule 12(b)(6) Standard ........................................................................................................5

     B. Plaintiff Fails to State a Claim Under 42 U.S.C. § 1983 .....................................................6

           1. Plaintiff Does Not Allege nor Identify an Official Policymaker or Policy....................7

           2. Plaintiff has Failed to Show a First Amendment Violation...........................................9

                (a) .The May 26, 2009 Memorandum Did Not Deal With a Matter of Public Concern10

                (b).Plaintiff was not Speaking as a Private Citizen but Rather as a Vice President at
                    MVC ......................................................................................................................10

           3. Plaintiff has Failed to Show any Due Process Violation .............................................12

                (a) .Overview of Due Process Claims ..........................................................................12

                (b).Procedural Due Process .........................................................................................13

                (c) .Substantive Due Process ........................................................................................13

                (d).Plaintiff’s Allegations Do Not Implicate Due Process ..........................................14

     C. Plaintiff Has Failed to State a Claim for a Violation of Chapter 106 of the Texas Civil
        Practices and Remedies Code ............................................................................................16

IV. CONCLUSION........................................................................................................................17




                                                                       i
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                         Page 3 of 25 PageID 63




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)
CASES

Beattie v. Madison County Sch. Dist.,
   254 F.3d 595 (5th Cir. 2001) .................................................................................................8, 9

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007)...................................................................................................................5

Bennett v. City of Slidell,
   728 F.2d 762 (5th Cir. 1984) (en banc) .....................................................................................9

Bennett v. Pippin,
   74 F.3d 578 (5th Cir. 1996) .....................................................................................................14

Bishop v. Wood,
   426 U.S. 341 (1976).................................................................................................................12

Bledsoe v. City of Horn Lake, Miss.,
   449 F.3d 650 (5th Cir. 2006) ...................................................................................................15

Board of Regents v. Roth,
   408 U.S. 564 (1972).................................................................................................................12

Bolton v. City of Dallas,
   541 F.3d 545 (5th Cir. 2008) .....................................................................................................8

Bryan County v. Brown,
   117 S.Ct. 1382 (1997)................................................................................................................6

Caine v. Hardy,
   943 F.2d 1406 (5th Cir. 1991) .................................................................................................12

Causey v. Sewell-Cadillac-Chevrolet, Inc.,
   394 F.3d 285 (5th Cir. 2004) .....................................................................................................5

Centeno v. City of Dallas,
   2008 WL 4137989 (N.D. Tex. Sept. 3, 2008)............................................................................6

Chavez v. Brownsville Indep. Sch. Dist.,
   135 F. App'x 664 (5th Cir. Jun. 15, 2005) .................................................................................8

Cleveland Board of Educ. v. Loudermill,
   470 U.S. 532 (1985).................................................................................................................13



                                                                    ii
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                         Page 4 of 25 PageID 64


Coggin v. Longview Indep. Sch. Dist.,
   337 F.3d 459 (5th Cir. 2003) .....................................................................................................7

Collins v. City of Harker Heights, Tex.,
   503 U.S. 115 (1992).................................................................................................................14

Costello v. Mitchell Pub. Sch. Dist.,
   266 F.3d 916 (8th Cir. 2001) ...................................................................................................14

County of Sacramento v. Lewis,
   523 U.S. 833 (1998).................................................................................................................13

Davis v. McKinney,
   518 F.3d 304 (5th Cir. 2008) .....................................................................................................9

Doe v. Dallas Indep. School Dist.,
   153 F.3d 211 (5th Cir. 1998) .................................................................................................6, 7

Doe v. Hillsboro Indep. Sch. Dist.,
   81 F.3d 1395 (5th Cir. 1996) .....................................................................................................5

Doe v. Taylor Indep. Sch. Dist.,
   15 F.3d 443 (5th Cir. 1994) .....................................................................................................12

Evans v. City of Dallas,
   861 F.2d 846 (5th Cir. 1988) ...................................................................................................13

Fernandez-Montes v. Allied Pilots Ass'n,
   987 F.2d 278 (5th Cir. 1993) .....................................................................................................6

Foley v. Town of Randolph,
   598 F.3d 1 (1st Cir. 2010)..........................................................................................................9

Garcetti v. Ceballos,
   547 U.S. 410 (2006).......................................................................................................9, 10, 11

Hill v. City of Pontotoc,
    993 F.2d 422 (5th Cir. 1993) .....................................................................................................8

Hishon v. King & Spalding,
   467 U.S. 69 (1984).....................................................................................................................5

Hughes v. City of Garland,
   204 F.3d 223 (5th Cir. 2000) ...................................................................................................13

In re Katrina Canal Breaches Litigation,
    495 F.3d 191 (5th Cir. 2007) .....................................................................................................5



                                                                    iii
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                        Page 5 of 25 PageID 65


James v. Collin County,
   535 F.3d 365 (5th Cir. 2008) .....................................................................................................6

Kaprelian v. Texas Woman's University,
   509 F.2d 133 (5th Cir. 1975) .............................................................................................10, 11

King v. Olmsted County,
   117 F.3d 1065 (8th Cir. 1997) ("Generally, mere verbal threats made by a state actor
   do not constitute a § 1983 claim") ...........................................................................................14

Lollar v. Baker,
    196 F.3d 603 (5th Cir. 1999) ...................................................................................................12

Lovelace v. Software Spectrum Inc.,
   78 F.3d 1015 (5th Cir. 1996) .....................................................................................................6

Montgomery County Hosp. Dist. v. Brown,
  965 S.W.2d 501 (Tex. 1998)....................................................................................................12

Nixon v. City of Houston,
   511 F.3d 494 (5th Cir. 2007) .....................................................................................................9

Owen v. City of Independence,
  445 U.S. 622, 100 S. Ct. 1398, 63 L. Ed. 2d 673 (1980)...........................................................7

Paul v. Davis,
   424 U.S. 693 (1976).................................................................................................................13

Pickering v. Bd. of Educ.,
   391 U.S. 563 (1968).............................................................................................................9, 10

Pittsley v. Warish,
    927 F.3d 3 (1st Cir. 1991)........................................................................................................14

Robertson v. City of Plano,
   70 F.3d 21 (5th Cir. 1995) .................................................................................................13, 14

Rutland v. Pepper,
   404 F.3d 921 (5th Cir. 2005) ...................................................................................................15

Saulpaugh v. Monroe Community Hosp.,
   4 F.3d 134 (2d Cir. 1993).........................................................................................................15

Siegert v. Gilley,
    500 U.S. 226 (1991).....................................................................................................13, 15, 16

Stewart v. Bailey,
   556 F.2d 281 (5th Cir. 1977) ...................................................................................................10


                                                                   iv
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                             Page 6 of 25 PageID 66


Stone v. Univ. of Maryland Med. Sys.,
   855 F.2d 167 (4th Cir. 1987) ...................................................................................................15

Tex. Antiques Comm. v. Dallas County Cmty. Coll. Dist.,
   554 S.W.2d 924 (Tex. 1977)......................................................................................................7

Tharling v. City of Port Lavaca,
   329 F.3d 422 (5th Cir. 2003) .....................................................................................................7

United States ex. rel. Willard v. Humana Health Plan of Tex., Inc.,
   336 F.3d 375 (5th Cir. 2003) .....................................................................................................6

Univ. of Texas v. Poindexter,
   No. 03-04-00806 CV, 2009 Tex. App. LEXIS 5112 (Tex. App.--Austin July 3, 2009,
   no pet.) ...............................................................................................................................16, 17

Van Arsdel v. Texas A&M Univ.,
   628 F.2d 344 (5th Cir. 1980) ...................................................................................................15

Whiting v. Univ. of S. Miss.,
   451 F.3d 339 (5th Cir. 2006) ...................................................................................................12

Williams v. Dallas Ind. Sch. Dist.,
   480 F.3d 689 (5th Cir. 2007) .....................................................................................................9

Williams v. Texas Tech. Univ. Health Sciences Ctr.,
   6 F.3d 290 (5th Cir. 1993) .......................................................................................................13

Wilson v. Garcia,
   471 U.S. 261 (1985)...................................................................................................................6

Wright v. Texas Comm'n on Human Rights,
   No. 03-03-00710 CV, 2005 Tex. App. LEXIS 5904 (Tex. App.--Austin July 27, 2005,
   pet. dism'd) (mem. op.) ......................................................................................................16, 17

STATUTES

42 U.S.C. § 1983................................................................................................................1, 6, 9, 17

Tex. Civ. Prac. & Rem. Code Ann. §§ 106.001-.004 ....................................................................17

Tex. Civ. Prac. & Rem. Code Ann. § 106.001(a) ..........................................................................16

Tex. Civ. Prac & Rem Code Chapter 106............................................................................1, 16, 17

TEX. EDUC. CODE ANN. § 23.26 ................................................................................................7

§ 130.005 of the Texas Education Code ..........................................................................................7


                                                                       v
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                                          Page 7 of 25 PageID 67


RULES

Fed. R. Civ. P. 12(b)(6)................................................................................................................1, 5

OTHER AUTHORITIES

U.S. Const. Amendment XIV, § 1 .................................................................................................12




                                                                    vi
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10             Page 8 of 25 PageID 68


                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

DR. MATILDA SAENZ,                             §
                                               §
           Plaintiff,                          §
                                               §
v.                                             §       CIVIL ACTION NO. 3:10-CV-742-O
                                               §
DALLAS COUNTY COMMUNITY                        §
COLLEGE DISTRICT,                              §
                                               §
           Defendant.                          §

 BRIEF IN SUPPORT OF DEFENDANT DALLAS COUNTY COMMUNITY COLLEGE
               DISTRICT’S MOTION FOR PARTIAL DISMISSAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           COMES           NOW     DALLAS   COUNTY     COMMUNITY       COLLEGE       DISTRICT

(“DCCCD”), Defendant in the above-styled and numbered cause, and files this its Motion for

Partial Dismissal of Plaintiff’s First Amended Complaint (“Complaint”) and in support thereof

would respectfully show the Court the following:

                                                I.
                                             SUMMARY

           Plaintiff is a former employee of DCCCD, a two year public undergraduate institution

comprised of seven colleges and governed by a seven-member Board of Trustees. Plaintiff

claims that Defendant violated her Constitutional rights and she seeks damages pursuant to 42

U.S.C. § 1983. Plaintiff also alleges violations of Chapter 106 of the Texas Civil Practices and

Remedies Code. Defendant moves for dismissal of these two claims pursuant to Fed. R. Civ. P.

12(b)(6) because Plaintiff’s First Amended Complaint fails to state a claim upon which relief can

be granted. At this time, DCCCD is not seeking a dismissal of Plaintiff’s additional claims,




                                                   1
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                Page 9 of 25 PageID 69


including claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, related to

Plaintiff’s Causes of Action, Counts One, Two, Seven and Eight.

                                              II.
                                  PLAINTIFF’S ALLEGATIONS

           Because the standard of review requires the Court to assume the truth of the Plaintiff’s

factual allegations, the following summary is based on the Plaintiff’s First Amended Complaint.

           Plaintiff is the former Vice President of Instruction for Mountain View College

(“MVC”), one of the DCCCD colleges. (Cmplt., p. 3, ¶ 3.2.) Plaintiff states that on or about

May 26, 2009, Plaintiff and five instructional/academic deans at MVC wrote and submitted a

Memorandum to Felix A. Zamora (“Zamora”), the President of MVC, regarding the concerns of

the authors pertaining to proposed budget cuts at MVC for the 2009-2010 academic year. (See

Cmplt., 3, ¶ 3.1.) The Memorandum, entitled “Budget Implications for Instruction at Mountain

View College” (the “Memorandum”) provided an overview of the potential adverse impact –

from the perspective of the authors - that would be created as a result of the proposed budget

cuts. (Cmplt., p. 3, ¶ 3.1.)

           The same day that Zamora received the Memorandum, Plaintiff alleges that Zamora

called Plaintiff and expressed his displeasure with the Memorandum. (Cmplt., p. 4, ¶ 3.4.)

Specifically, Plaintiff alleges that Zamora “was livid,” and called Plaintiff and the deans

“hysterical” and further stated that he did not agree with the positions taken by the authors of the

Memorandum. (Cmplt., p. 4, ¶ 3.4.) Plaintiff further alleges that Zamora asserted that Plaintiff’s

actions “bordered in [sic] insubordination” and that he would “take that up later.” (Cmplt., p. 4,

¶ 3.4.) Plaintiff further alleges that Zamora insulted Plaintiff by stating that the Memorandum

showed Plaintiff’s “lack of understanding of the budget and leadership/management skills” and

that this statement evidences Zamora’s discriminatory attitude towards Plaintiff as a female.


                                                  2
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                 Page 10 of 25 PageID 70


(Cmplt., pp. 4-5, ¶ 3.4.) Plaintiff also alleges that this initial conversation following Zamora’s

receipt of the Memorandum began Zamora’s efforts to “damage and/or harm Plaintiff’s

leadership and competence and to continually retaliate, harass, and/or otherwise cause harm to

Plaintiff in every way he possibly could.” (Cmplt., p. 5, ¶ 3.5.)

           At a June 3, 2009 meeting attended by President Zamora and the deans, Plaintiff alleges

that Zamora acted unprofessionally and “conducted himself in behavior unbecoming of a college

president” when he stated that “he had taken a lot of crap from the faculty and that he would

continue to fight them.” (Cmplt., pp. 5-6, ¶ 3.7.) Plaintiff alleges that at this June 3 meeting she

mentioned the need for openness and transparency in the college budget discussions. (Cmplt.,

p. 6, ¶ 3.7.) Plaintiff alleges that following the June 3 meeting, Zamora “retaliated” against

Plaintiff by giving her a negative evaluation and issuing her a performance improvement plan.

(Cmplt., p. 6, ¶ 3.8.) Plaintiff alleges that prior to this evaluation, Zamora had previously given

Plaintiff exemplary evaluations and that Plaintiff had been a model employee prior to the

Memorandum. (See Cmplt., p. 6, ¶ 3.8.) Plaintiff alleges that Zamora did not have a problem

with Plaintiff’s performance “until she (a female) appeared to question his authority by raising

budgetary issues, which are a matter of public concern.” (Cmplt., p. 6-7, ¶ 3.8.)

           Plaintiff alleges that following the publication of the Memorandum, Zamora retaliated

against Plaintiff by denying her professional development opportunities that she requested. (See

Cmplt., p. 7, ¶ 3.10 – p. 8, ¶ 3.12.) Plaintiff also alleges that Zamora retaliated against Plaintiff

by conducting monthly meetings with Plaintiff that were negative in tone as part of her

Performance Improvement Plan. (Cmplt., p. 8, ¶ 3.13.) While it is unclear from Plaintiff’s

Complaint, Plaintiff implies that the employment contract of Plaintiff’s husband, a MVC




                                                  3
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                   Page 11 of 25 PageID 71


employee, was not renewed due to issues associated with the Memorandum. (See Cmplt., p. 7,

¶ 3.9.)

           As a result of these alleged actions of Zamora against Plaintiff, Plaintiff filed a grievance

against Zamora on or about November 13, 2009, as well as a charge of discrimination with the

Equal Employment Opportunity Commission (“EEOC”) on or about November 30, 2009 against

Zamora based upon perceived gender and race discrimination and other retaliatory actions taken

by Zamora against Plaintiff. (Cmplt., p. 8-9, ¶ 3.14.) Subsequent to her filing of a grievance and

her charge of discrimination, Plaintiff alleges that “Zamora conducted ‘a goal setting meeting’

with Plaintiff and continued his [Zamora’s] attempts to make Plaintiff’s life miserable and to

retaliate against Plaintiff.” (Cmplt., p. 9, ¶ 3.15.)

           Plaintiff also alleges that Zamora treated “several male deans under his direct supervision

very differently from Plaintiff.” (Cmplt., p. 9, ¶ 3.16.) In support of this allegation, Plaintiff

alleges that Dean Jerry Scheerer was not reprimanded or “treated in a disparaging and/or

humiliating manner by Zamora, like Zamora treated Plaintiff” after Scheerer told Zamora that

MVC would not rewrite nor resubmit an opportunity that MVC had to revise a Southern

Association of Colleges and Schools (“SACS”) Monitoring Report. (Cmplt., p. 9, ¶ 3.16 – p. 10,

¶ 3.17.) As another example of alleged discriminating treatment, Plaintiff alleges that Dean

Moises Almendariz was “treated much more favorably [by Zamora] than Plaintiff.” (Cmplt.,

p. 10, ¶ 3.18.) Specifically, Plaintiff alleges that when Dean Almendariz elected not to assist

Plaintiff and the deans at MVC, Zamora did nothing to correct the situation. (Cmplt., p. 10,

¶ 3.18.)      Finally, Plaintiff alleges that male administrators at MVC were not asked and/or

required to send email notifications for in-town meetings whereas Plaintiff was required to do so.

(Cmplt., p. 11, ¶ 3.19.) In general, Plaintiff alleges that Zamora elected not to reprimand male



                                                    4
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                 Page 12 of 25 PageID 72


administrators and employees in the same manner as he chose to reprimand Plaintiff. (Cmplt.,

p. 11, ¶ 3.19.)

           On or about March 26, 2010, Zamora informed Plaintiff that she was immediately

suspended and he instructed Plaintiff to immediately remove all of her belongings and clear out

from MVC that day. (Cmplt., p. 11, ¶ 3.21.) Zamora also informed Plaintiff at that time that her

contract would not be renewed. (Cmplt., p. 11, ¶ 3.21.) Plaintiff’s handling of the SACS

Monitoring Report was cited as the basis for the non-renewal. (Cmplt., p. 9, ¶ 3.15 fn 4.)

Plaintiff alleges that since the time of the May 2009 Memorandum, and since the time Plaintiff

filed her grievance and EEOC charge, she has continuously been subjected to retaliation and

adverse employment actions. (Cmplt., p. 12, ¶ 3.23.) Plaintiff also alleges that she has been

continually demeaned and humiliated by Zamora. (Cmplt., p. 12, ¶ 5.21). Plaintiff alleges that

DCCCD has created a policy of discrimination and/or retaliation against Plaintiff, and this policy

has been carried out by Zamora, Plaintiff’s regular supervisor. (Cmplt., p. 12, ¶ 3.23.)

                                              III.
                                 MOTION FOR PARTIAL DISMISSAL

           A.         Rule 12(b)(6) Standard

           Federal Rule of Civil Procedure 12(b)(6) authorizes the dismissal of a case for failure to

state a claim upon which relief can be granted if the complaint clearly demonstrates that the

plaintiff cannot prove any set of facts that would entitle her to relief. Fed. R. Civ. P. 12(b)(6);

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984); Doe v. Hillsboro Indep. Sch. Dist., 81 F.3d

1395, 1401-02 (5th Cir. 1996). A motion under Rule 12(b)(6) should be granted if the Plaintiff

“fails to plead enough facts to state a claim to relief that is plausible on its face.” In re Katrina

Canal Breaches Litigation, 495 F.3d 191, 205 (5th Cir. 2007) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The court must accept all well-pleaded facts as true and


                                                   5
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                  Page 13 of 25 PageID 73


view them in the light most favorable to the nonmovant. Causey v. Sewell-Cadillac-Chevrolet,

Inc., 394 F.3d 285, 288 (5th Cir. 2004). “Nevertheless, dismissal is proper if it appears that no

relief could be granted under any set of facts that could be proved consistent with the

allegations.” Centeno v. City of Dallas, 2008 WL 4137989 *3 (N.D. Tex. Sept. 3, 2008) (citation

and internal quotations omitted). Thus, conclusory allegations or legal conclusions masquerading

as factual conclusions will not suffice to avoid a motion to dismiss. United States ex. rel.

Willard v. Humana Health Plan of Tex., Inc., 336 F.3d 375, 379 (5th Cir. 2003); Fernandez-

Montes v. Allied Pilots Ass'n, 987 F.2d 278, 284 (5th Cir. 1993). In making its determination, a

court may consider documents attached to or incorporated in the complaint and matters of which

it could take judicial notice. Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1017-18 (5th

Cir. 1996); United States ex. rel. Willard, 336 F.3d at 379.

           B.         Plaintiff Fails to State a Claim Under 42 U.S.C. § 1983

           Plaintiff has asserted claims under 42 U.S.C. § 1983. Specifically, Plaintiff’s Causes of

Action, Counts Three, Four and Five arise under Section 1983. (See Cmplt., pp. 16-21.) Section

1983 provides a damages remedy to individuals whose constitutional rights are violated by a

person acting under color of state law. See James v. Collin County, 535 F.3d 365, 373 (5th Cir.

2008).       Section 1983 creates no substantive rights, but merely provides a remedy for the

deprivation of existing constitutional or federal statutory rights. Wilson v. Garcia, 471 U.S. 261,

278 (1985). Because respondeat superior liability is prohibited under Section 1983, the plaintiff

must do more than show isolated constitutional violations by an entity's employees. See Bryan

County v. Brown, 117 S. Ct. 1382, 1388 (1997). To prevail against a governmental entity, such

as DCCCD, Plaintiff must show that the entity's final policymaker maintained an

unconstitutional custom, policy, or practice that was the "moving force" behind the Plaintiff's

injury. Id. at 1389; see also Doe v. Dallas Indep. School Dist., 153 F.3d 211, 216 (5th Cir. 1998)

                                                     6
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                     Page 14 of 25 PageID 74


(holding that the alleged constitutional violation must constitute the official act, policy or custom

of the district’s board of trustees.).

                      1.         Plaintiff Does Not Allege nor Identify an Official Policymaker or
                                 Policy

           DCCCD was created in 1965 as authorized by section 130.005 of the Texas Education

Code. Tex. Antiques Comm. v. Dallas County Cmty. Coll. Dist., 554 S.W.2d 924, 925 (Tex.

1977). Its Board of Trustees "constitutes a body corporate" which may “sue and be sued" and

has "the exclusive power to manage" the College District's affairs. Id. (citing TEX. EDUC.

CODE ANN. § 23.26). It is settled law that the existence of official policymaker authority is a

question of law to be decided by the Court. Tharling v. City of Port Lavaca, 329 F.3d 422, 427

(5th Cir. 2003).

           Following ten pages of factual allegations relating to her personal issues with Zamora

(Plaintiff’s supervisor), Plaintiff offers the following conclusory allegations:

           The foregoing conduct of Defendant demonstrates a policy, pattern and/or history
           of discrimination and/or retaliation against Plaintiff…Specifically, Defendant has
           created a policy of discrimination and/or retaliation against Plaintiff, and this
           policy has been carried out by Zamora.

(Cmplt. p. 12, ¶ 3.23.)              Plaintiff fails to allege any specific policy statement, ordinance,

regulation, or custom as the cause of her alleged injury, and thus, the dispositive question is

whether Plaintiff’s alleged constitutional violations were decisions that "may fairly be said to

represent official policy." See Doe, 153 F.3d at 215.

           Plaintiff’s case is distinguishable from those cases where final policymakers clearly acted

to deprive Plaintiffs of their federal rights, such as by passing a resolution or by voting. See

Coggin v. Longview Indep. Sch. Dist., 337 F.3d 459, 461 (5th Cir. 2003) (school board adopted

resolution discharging plaintiff as district employee and Fifth Circuit held that board's

termination without hearing resulted in due process violation); Owen v. City of Independence,

                                                        7
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                Page 15 of 25 PageID 75


445 U.S. 622, 628-29, 100 S. Ct. 1398, 63 L. Ed. 2d 673 (1980) (city council passed resolution

ordering city manager to take "appropriate action" against police chief and released investigative

reports to news media without pre-termination hearing); Hill v. City of Pontotoc, 993 F.2d 422,

424 (5th Cir. 1993) (board of aldermen voted to terminate fire chief without due process).

           In the present case, there is no allegation by Plaintiff that DCCCD’s Board of Trustees

ever considered the non-renewal of Plaintiff’s contract with DCCCD or voted to adopt a policy

that violated the federal Constitutional rights of Plaintiff..      Instead, Plaintiff offers only

conclusory allegations and only complains of actions taken by Zamora, President of one of the

seven colleges in the DCCCD.            Apparently, Plaintiff improperly assumes that DCCCD

employees can never act without the Board of Trustee's authority and that the non-renewal of

Plaintiff’s contract with DCCCD could ever have been processed without the approval of the

Board of Trustees. Plaintiff has not even alleged that the Board of Trustees actually exercised

such control.

           The Fifth Circuit Court of Appeals has noted that "there exists a meaningful distinction

between policymaking and decision making." Chavez v. Brownsville Indep. Sch. Dist., 135 F.

App'x 664, 679 (5th Cir. Jun. 15, 2005); Bolton v. City of Dallas, 541 F.3d 545, 549 n.3 (5th Cir.

2008) ("For example, the County Sheriff may have discretion to hire and fire employees without

also being the county official responsible for establishing county employment policy."). Just as

the authority to make final individual personnel decisions does not constitute an assignment of

policymaking power, see, e.g., Id. at 550-51 (holding that final decision maker cannot render the

city liable where plaintiff cannot show that he was vested with policymaking power), any

authority possessed by Zamora to reprimand MVC employees or to make individual personnel

decisions likewise does not constitute an assignment or act of policymaking power of the



                                                  8
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                    Page 16 of 25 PageID 76


DCCCD Board of Trustees. See Beattie v. Madison County Sch. Dist., 254 F.3d 595, 602-03 (5th

Cir. 2001) (finding no delegation to superintendent because she could only recommend

termination to school board); Bennett v. City of Slidell, 728 F.2d 762, 770 (5th Cir. 1984) (en

banc) (holding that decisions that were "perhaps discretionary and ministerial" did not constitute

policymaking).

           Liability against DCCCD is precluded as a matter of law unless the Board of Trustees

maintained a policy or practice of allowing a violation of Plaintiff’s Constitutional rights. See

Beattie v. Madison County Sch. Dist., 254 F.3d 595, 601 (5th Cir. 2001). Plaintiff has failed to

allege a specific policy, practice or custom as the cause of her alleged injury that was adopted by

DCCCD’s Board of Trustees because there was no such action by the Board of Trustees.

Accordingly, since Plaintiff cannot plead or prove such action, Plaintiff has failed to state a claim

against DCCCD under § 1983.

                      2.         Plaintiff has Failed to Show a First Amendment Violation

           The Supreme Court has long recognized that public employees do not forego all the

protections of the First Amendment by virtue of working for the government. See Pickering v.

Bd. of Educ., 391 U.S. 563, 568 (1968).                The Court's employee-speech jurisprudence has

protected the rights not only of the employees themselves, but of the general public "in receiving

the well-informed views of government employees engaging in civic discussion." Garcetti v.

Ceballos, 547 U.S. 410, 419 (2006). But, "when public employees make statements pursuant to

their official duties, the employees are not speaking as citizens for First Amendment purposes".

Id. at 421 (emphasis added); see Williams v. Dallas Ind. Sch. Dist., 480 F.3d 689, 693 (5th Cir.

2007); Davis v. McKinney, 518 F.3d 304 (5th Cir. 2008); Nixon v. City of Houston, 511 F.3d 494

(5th Cir. 2007).



                                                        9
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                    Page 17 of 25 PageID 77


           To determine whether Plaintiff's speech is entitled to First Amendment protection, the

first inquiry is whether Plaintiff was both (1) speaking about a matter of public concern and (2)

speaking as a citizen. Foley v. Town of Randolph, 598 F.3d 1 (1st Cir. 2010). If the answer to

either of these sub-parts is no, then she has no First Amendment claim. Garcetti, 547 U.S. at

418.

                                 (a)   The May 26, 2009 Memorandum Did Not Deal With a Matter
                                       of Public Concern

           According to Plaintiff’s Complaint, the Memorandum submitted to President Zamora

pertained to fiduciary concerns and the potential impact of proposed budget cuts at MVC. (See

Cmplt., p. 3, ¶ 3.1.) While First Amendment protection extends to a teacher's right to criticize

the actions or policies of school officials, not all speech rises to the level of constitutional

protection. Stewart v. Bailey, 556 F.2d 281 (5th Cir. 1977) (citing Pickering v. Board of

Education, 391 U.S. 563 (1968)). Pickering requires that the statements "involve matters of

general public concern - disagreement about the operations and functions of the college are not

protected." Stewart v. Bailey, 556 F.2d 281 (5th Cir. 1977). The Fifth Circuit Court of Appeals

has previously expressed doubt as to "whether a subordinate's insistence on imposing his general

policy views on his superior . . . or publicly denigrating his college fall within these protections."

See Kaprelian v. Texas Woman's University, 509 F.2d 133 (5th Cir. 1975). The Memorandum at

issue merely expressed the opinion of Plaintiff regarding budget issues at MVC and did not deal

with a matter of public concern, and as a result, Plaintiff fails to state a claim on her First

Amendment claim.

                                 (b)   Plaintiff was not Speaking as a Private Citizen but Rather as a
                                       Vice President at MVC

           Even if the Court determines that some portion of Plaintiff’s three page Memorandum

dealt with a matter of public concern, Plaintiff’s First Amendment Claim still fails because

                                                       10
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                    Page 18 of 25 PageID 78


Plaintiff spoke in her official capacity and as part of her official duties. In Garcetti, the Court

held that when public employees make statements "pursuant to their official duties," they are not

speaking as citizens for First Amendment purposes, and the Constitution does not insulate their

communication from employer discipline. Garcetti at 421. This is so because "[e]mployers

have heightened interests in controlling speech made by an employee in his or her professional

capacity." Id. at 422. The present situation is analogous to Garcetti, where a prosecutor wrote

an internal memorandum in which he "spoke as a prosecutor fulfilling a responsibility to advise

his supervisor about how best to proceed with a pending case." Id. at 421.

           Though Plaintiff was not required to author the Memorandum as part of her job, she

chose to do so as a Vice President at MVC. Plaintiff and the other authors of the Memorandum

voluntarily wrote about issues related to the budget and staffing at MVC in what Plaintiff

describes as an “official memorandum”. (See Cmplt., p. 3, ¶ 3.1.) In the Memorandum, Plaintiff

addresses Zamora in Plaintiff’s official capacity as Vice President of Instruction at MVC and

signed listing her official title on the Memorandum.

           Plaintiff's speech is distinguishable from the letter to the editor written by the Plaintiff in

Pickering. As the Court noted in Garcetti, that letter had no official significance and bore

similarities to letters submitted by numerous citizens every day. Garcetti, 547 U.S. at 422.

Here, given that Plaintiff authored the Memorandum under her official title, disseminated it to

Zamora from her official email address and included her email signature that listed her official

title at MVC, it cannot be argued that the speech had no official significance. Further, Plaintiff’s

views were not expressed to the general public but were limited to an internal Memorandum

disseminated within the workplace. Because Plaintiff spoke pursuant to her official duties, her




                                                     11
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                     Page 19 of 25 PageID 79


speech was not insulated from employer discipline, and the Court should dismiss Plaintiff’s First

Amendment claim.

                      3.         Plaintiff has Failed to Show any Due Process Violation

                                 (a)   Overview of Due Process Claims

           The Due Process Clause states that the state, including public colleges, may not deprive a

person of "property" or "liberty" without due process of law. U.S. Const. Amend. XIV, § 1.

Property interests are not created by the Constitution but, rather, are entitlements created under

state law. Bishop v. Wood, 426 U.S. 341, 344 (1976). Under state law, the person must have a

legitimate claim to the benefit, not merely a unilateral desire for it. Whiting v. Univ. of S. Miss.,

451 F.3d 339, 344 (5th Cir. 2006) (citing Board of Regents v. Roth, 408 U.S. 564, 577 (1972)).

In the employment context, a property interest generally means that the employee's right to

employment is protected by statute, contract, or explicit agreement and cannot be removed

without cause. See Lollar v. Baker, 196 F.3d 603, 608 (5th Cir. 1999). Because Texas is an "at

will" employment state, absent an explicit agreement to the contrary, Texas employees may be

terminated without cause and without a hearing at any time. See Montgomery County Hosp.

Dist. v. Brown, 965 S.W.2d 501 (Tex. 1998).

           A "liberty" interest is a right expressly enumerated in the Bill of Rights but also includes

"fundamental rights implicit in the concept of ordered liberty." Doe v. Taylor Indep. Sch. Dist.,

15 F.3d 443, 454 (5th Cir. 1994). Liberty includes freedom from bodily restraint and the right to

a hearing when the "person's good name ... is at stake because of what the government is doing to

him." Roth, 5098 U.S. 573-574.

           The courts recognize two types of due process: procedural due process and substantive

due process. Procedural due process is concerned only with the procedures utilized by the

employer and not the merits of the employer's decision. See Caine v. Hardy, 943 F.2d 1406,

                                                        12
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                  Page 20 of 25 PageID 80


1411 (5th Cir. 1991). In contrast, substantive due process protects against certain governmental

intrusions regardless of the fairness of the procedures used to implement them. Robertson v. City

of Plano, 70 F.3d 21, 25 (5th Cir. 1995).

                                 (b)   Procedural Due Process

           A procedural due process claim based on loss of a property interest requires proof that the

plaintiff possessed a property interest in continued employment and that she was deprived of that

interest without notice and a meaningful opportunity to be heard. Cleveland Board of Educ. v.

Loudermill, 470 U.S. 532, 538-542 (1985).

           A procedural due process claim based on deprivation of a liberty interest requires proof

that false and stigmatizing charges were publicly released as a part of the dismissal process and

that the employee was deprived of an opportunity to answer the charges. See Hughes v. City of

Garland, 204 F.3d 223, 226 (5th Cir. 2000). A liberty interest is implicated only if the

defamatory statement was made during the termination rather than after the termination. See

Siegert, 500 U.S. at 233; Paul v. Davis, 424 U.S. 693, 710 (1976). The public charges must rise

to such a level that they create a "badge of infamy" that destroys the employee's ability to obtain

other employment. Evans v. City of Dallas, 861 F.2d 846, 851 (5th Cir. 1988). The employee

must establish both that he was publicly accused of immorality or dishonesty and that his ability

to seek employment was actually impaired. See id. at 851. Reputation alone is not a

constitutionally protected liberty interest. Siegert v. Gilley, 500 U.S. 226, 233-34 (1991).

                                 (c)   Substantive Due Process

           There are two theories under which a plaintiff may bring a substantive due process claim.

The first theory requires the plaintiff to show that the state arbitrarily and capriciously deprived

him of a property interest or liberty interest. See Williams v. Texas Tech. Univ. Health Sciences

Ctr., 6 F.3d 290, 293 (5th Cir. 1993). The second theory requires the plaintiff to show that the

                                                      13
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                      Page 21 of 25 PageID 81


state engaged in conduct that "shocks the conscience." County of Sacramento v. Lewis, 523 U.S.

833, 848 (1998). Acts of physical brutality, such as rape, may violate substantive due process.

See Bennett v. Pippin, 74 F.3d 578, 589 (5th Cir. 1996). Alleged verbal harassment, however,

does not violate substantive due process. See Robertson, 70 F.3d at 24 (threatening language and

gestures do not violate due process) (citation omitted); Costello v. Mitchell Pub. Sch. Dist., 266

F.3d 916, 921 (8th Cir. 2001) (berating student in front of class did not violate due process). This

is because the Due Process Clause does not provide a remedy for ordinary tortious conduct. See

Collins v. City of Harker Heights, Tex., 503 U.S. 115, 126 (1992) ("Our Constitution deals with

the large concerns of the governors and the governed, but it does not purport to supplant

traditional tort law in laying down rules of conduct to regulate liability for injuries that attend to

living together in society").

                                 (d)     Plaintiff’s Allegations Do Not Implicate Due Process

           Alleged threats.            Plaintiff subjectively believes and generally alleges that Zamora

“disparag[ed],” “demeaned and humiliated” her. (Cmplt., p.12, ¶ 3.21.) However, threats, verbal

abuse, screaming, and the like do not violate due process. See Robertson, 70 F.3d at 24; Costello

v. Mitchell Pub. Sch. Dist., 266 F.3d 916, 921 (8th Cir. 2001) (cruel name-calling and striking

plaintiff in the face with a notebook did not violate due process); King v. Olmsted County, 117

F.3d 1065 (8th Cir. 1997) ("Generally, mere verbal threats made by a state actor do not constitute

a § 1983 claim") (citation omitted); Pittsley v. Warish, 927 F.3d 3 (1st Cir. 1991) (treating

children "very badly" during arrest of their father did not violate substantive due process).

           Alleged deprivation of property interest in employment contract. Plaintiff vaguely

claims that she was denied her protected property interest in her employment contracts and

agreements with Defendant. (Cmplt., p. 18, ¶ 4.19.) Plaintiff fails to state a claim, however, as

an employee who alters her employment status of her own free will, even if prompted by events

                                                         14
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                 Page 22 of 25 PageID 82


set in motion by the employer, cannot establish that the state deprived her of the interest within

the meaning of the due process clause. See, e.g., Van Arsdel v. Texas A&M Univ., 628 F.2d 344,

346 (5th Cir. 1980) (stating that employee who chose to resign rather than to face public

dismissal proceeding waived his right to due process); Stone v. Univ. of Maryland Med. Sys., 855

F.2d 167, 173 (4th Cir. 1987) (same). Further, in the Fifth Circuit, a constructive discharge

claim, where conditions are alleged as intolerable, is actionable as a procedural due process

violation only if it amounts to a forced discharge to avoid affording pre-termination hearing

procedures. Rutland v. Pepper, 404 F.3d 921, 923 (5th Cir. 2005). Plaintiff's Complaint contains

no such allegation; thus, she has failed to state a claim on this point.

           Allegations relating to Plaintiff’s “good name and reputation.” Plaintiff alleges that

DCCCD deprived Plaintiff of her protected liberty interest in her good name and reputation.

(Cmplt., p. 17, ¶ 4.18.) However, a liberty interest is implicated only if the defamatory statement

was publicly released during the termination process rather than after the termination. See

Siegert, 500 U.S. at 233-34; Bledsoe v. City of Horn Lake, Miss., 449 F.3d 650, 653 (5th Cir.

2006); Saulpaugh v. Monroe Community Hosp., 4 F.3d 134, 144 (2d Cir. 1993). Plaintiff’s

Complaint contains no allegations indicating that DCCCD publicly disseminated false

information regarding her.

           Allegations related to pursuit of Plaintiff’s profession. Plaintiff alleges that DCCCD

somehow deprived Plaintiff of her ability to pursue her chosen profession. (Cmplt., p. 17,

¶ 4.18.) This vague and speculative allegation fails to state a claim. Not that Plaintiff has even

alleged such facts, but due process is not implicated even when a former supervisor provides a

defamatory reference to a prospective employer, thus preventing the plaintiff from being hired.

Siegert v. Gilley, 500 U.S. 226 (1991) (no liberty interest was violated when former supervisor



                                                  15
3091357.2/SP/27566/0215/060910
      Case 3:10-cv-00742-O Document 7 Filed 06/09/10                              Page 23 of 25 PageID 83


told another employer that plaintiff was the most "inept and unethical" person he had ever

supervised). Further, injury to reputation resulting in impairment of employment opportunity is

not a protected liberty interest.               Id. at 233. While DCCCD denies impairing Plaintiff’s

employment opportunities, even if it did, such conduct would not violate the Plaintiff’s due

process rights.

           C.         Plaintiff Has Failed to State a Claim for a Violation of Chapter 106 of the
                      Texas Civil Practices and Remedies Code

           Plaintiff alleges that DCCCD’s actions violated Chapter 106 of the Texas Civil Practices

and Remedies Code.1 (Cmplt., p. 21) However, Texas appellate courts have determined that

Chapter 106 does not address employment discrimination. See Wright v. Texas Comm'n on

Human Rights, No. 03-03-00710 CV, 2005 Tex. App. LEXIS 5904, at *7-8 (Tex. App.--Austin

July 27, 2005, pet. dism'd) (mem. op.); see also Univ. of Texas v. Poindexter, No. 03-04-00806

CV, 2009 Tex. App. LEXIS 5112, at *30 (Tex. App.--Austin July 3, 2009, no pet.). In so

holding, the Austin Court of Appeals first examined the legislative history of Chapter 106 and

noted that when the Legislature enacted the Texas Commission on Human Rights Act

(“TCHRA”) in 1983, it simultaneously repealed the employment discrimination language in

Chapter 106's predecessor and moved that language into TCHRA. See Wright, 2005 Tex. App.


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    Tex. Civ. Prac & Rem Code Chapter 106 provides:

    (a)   An officer or employee of the state or of a political subdivision of the state who is acting or purporting to act
          in an official capacity may not, because of a person's race, religion, color, sex, or national origin:
          (1) refuse to issue to the person a license, permit, or certificate;
          (2) revoke or suspend the person's license, permit, or certificate;
          (3) refuse to permit the person to use facilities open to the public and owned, operated, or managed by or
                on behalf of the state or a political subdivision of the state;
          (4) refuse to permit the person to use facilities open to the public and owned, operated, or managed by or
                on behalf of the state or a political subdivision of the state;
          (5) refuse to grant a benefit to the person;
          (6) impose an unreasonable burden on the person; or
          (7) refuse to award a contract to the person.

Tex. Civ. Prac. & Rem. Code Ann. § 106.001(a) (West 2010).

                                                            16
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10             Page 24 of 25 PageID 84


LEXIS 5904 at *7 (internal citations omitted). This language dealt with the refusal to employ or

the discharge of a person because of race, religion, color, sex, or national origin. Id. What

remains of Chapter 106 does not concern employment. Univ. of Texas v. Poindexter, 2009 Tex.

App. LEXIS 5112 at *29 (citing Tex. Civ. Prac. & Rem. Code Ann. §§ 106.001-.004). DCCCD

implores this Court to “follow the longstanding and proper reading of this section, which

excludes a cause of action for employment-related discrimination” and dismiss Plaintiff’s claim

arising under Chapter 106 of the Texas Civil Practices and Remedies Code.

                                            IV.
                                        CONCLUSION

           Wherefore, for the foregoing reasons, Defendant Dallas County Community College

District moves for dismissal of all of Plaintiff’s claims based on 42 U.S.C. § 1983 (Count Three,

Count Four and Count Five) as well as dismissal of Plaintiff’s claim based on Chapter 106 of the

Texas Civil Practices and Remedies Code (Count Six).

                                     Respectfully submitted,


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                                               17
3091357.2/SP/27566/0215/060910
     Case 3:10-cv-00742-O Document 7 Filed 06/09/10                Page 25 of 25 PageID 85


                                 CERTIFICATE OF SERVICE

        This is to certify that on June 9, 2010, I electronically filed the foregoing document with
the Clerk of the Court for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the court. The electronic case filing system sent a “Notice of Electronic
Filing” to the following attorneys of record who have consented in writing to accept this Notice
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                                                18
3091357.2/SP/27566/0215/060910
